Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 1 of 101 Page ID
                                  #:3974




 EXHIBIT B Continued
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 2 of 101 Page ID
                                  #:3975
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 3 of 101 Page ID
                                  #:3976
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 4 of 101 Page ID
                                  #:3977
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 5 of 101 Page ID
                                  #:3978
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 6 of 101 Page ID
                                  #:3979
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 7 of 101 Page ID
                                  #:3980
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 8 of 101 Page ID
                                  #:3981
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 9 of 101 Page ID
                                  #:3982
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 10 of 101 Page ID
                                  #:3983
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 11 of 101 Page ID
                                  #:3984
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 12 of 101 Page ID
                                  #:3985
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 13 of 101 Page ID
                                  #:3986
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 14 of 101 Page ID
                                  #:3987
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 15 of 101 Page ID
                                  #:3988
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 16 of 101 Page ID
                                  #:3989
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 17 of 101 Page ID
                                  #:3990
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 18 of 101 Page ID
                                  #:3991
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 19 of 101 Page ID
                                  #:3992
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 20 of 101 Page ID
                                  #:3993
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 21 of 101 Page ID
                                  #:3994
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 22 of 101 Page ID
                                  #:3995
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 23 of 101 Page ID
                                  #:3996
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 24 of 101 Page ID
                                  #:3997
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 25 of 101 Page ID
                                  #:3998
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 26 of 101 Page ID
                                  #:3999
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 27 of 101 Page ID
                                  #:4000
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 28 of 101 Page ID
                                  #:4001
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 29 of 101 Page ID
                                  #:4002
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 30 of 101 Page ID
                                  #:4003
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 31 of 101 Page ID
                                  #:4004
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 32 of 101 Page ID
                                  #:4005
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 33 of 101 Page ID
                                  #:4006
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 34 of 101 Page ID
                                  #:4007
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 35 of 101 Page ID
                                  #:4008
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 36 of 101 Page ID
                                  #:4009
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 37 of 101 Page ID
                                  #:4010
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 38 of 101 Page ID
                                  #:4011
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 39 of 101 Page ID
                                  #:4012
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 40 of 101 Page ID
                                  #:4013
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 41 of 101 Page ID
                                  #:4014
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 42 of 101 Page ID
                                  #:4015
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 43 of 101 Page ID
                                  #:4016
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 44 of 101 Page ID
                                  #:4017
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 45 of 101 Page ID
                                  #:4018
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 46 of 101 Page ID
                                  #:4019
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 47 of 101 Page ID
                                  #:4020
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 48 of 101 Page ID
                                  #:4021
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 49 of 101 Page ID
                                  #:4022
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 50 of 101 Page ID
                                  #:4023
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 51 of 101 Page ID
                                  #:4024
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 52 of 101 Page ID
                                  #:4025
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 53 of 101 Page ID
                                  #:4026
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 54 of 101 Page ID
                                  #:4027
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 55 of 101 Page ID
                                  #:4028
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 56 of 101 Page ID
                                  #:4029
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 57 of 101 Page ID
                                  #:4030
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 58 of 101 Page ID
                                  #:4031
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 59 of 101 Page ID
                                  #:4032
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 60 of 101 Page ID
                                  #:4033
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 61 of 101 Page ID
                                  #:4034
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 62 of 101 Page ID
                                  #:4035
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 63 of 101 Page ID
                                  #:4036
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 64 of 101 Page ID
                                  #:4037
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 65 of 101 Page ID
                                  #:4038
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 66 of 101 Page ID
                                  #:4039
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 67 of 101 Page ID
                                  #:4040
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 68 of 101 Page ID
                                  #:4041
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 69 of 101 Page ID
                                  #:4042
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 70 of 101 Page ID
                                  #:4043
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 71 of 101 Page ID
                                  #:4044
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 72 of 101 Page ID
                                  #:4045
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 73 of 101 Page ID
                                  #:4046
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 74 of 101 Page ID
                                  #:4047
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 75 of 101 Page ID
                                  #:4048
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 76 of 101 Page ID
                                  #:4049
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 77 of 101 Page ID
                                  #:4050
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 78 of 101 Page ID
                                  #:4051
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 79 of 101 Page ID
                                  #:4052
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 80 of 101 Page ID
                                  #:4053
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 81 of 101 Page ID
                                  #:4054
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 82 of 101 Page ID
                                  #:4055
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 83 of 101 Page ID
                                  #:4056
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 84 of 101 Page ID
                                  #:4057
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 85 of 101 Page ID
                                  #:4058
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 86 of 101 Page ID
                                  #:4059
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 87 of 101 Page ID
                                  #:4060
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 88 of 101 Page ID
                                  #:4061
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 89 of 101 Page ID
                                  #:4062
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 90 of 101 Page ID
                                  #:4063
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 91 of 101 Page ID
                                  #:4064
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 92 of 101 Page ID
                                  #:4065
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 93 of 101 Page ID
                                  #:4066
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 94 of 101 Page ID
                                  #:4067
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 95 of 101 Page ID
                                  #:4068
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 96 of 101 Page ID
                                  #:4069
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 97 of 101 Page ID
                                  #:4070
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 98 of 101 Page ID
                                  #:4071
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 99 of 101 Page ID
                                  #:4072
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 100 of 101 Page ID
                                   #:4073
Case 2:22-cv-09462-DMG-ADS Document 23-10 Filed 03/13/23 Page 101 of 101 Page ID
                                   #:4074
